             Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 1 of 9




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.
                                                             No. 21-cr-552 (DLF)
 KENNETH JOSEPH OWEN THOMAS,

                  Defendant.


                                       PRE-TRIAL ORDER

       In order to administer the trial of the above-captioned criminal case in a manner that is fair

and just to the parties and is consistent with the goal of completing the trial of this case in the most

efficient manner, it is hereby

       ORDERED that counsel shall comply with each of the following procedures and

requirements:

        1.      TRIAL.     Jury Selection will commence on May 15, 2023 at 9:00 a.m. in

Courtroom 14.

        2.      PRETRIAL CONFERENCE. A motions hearing will be held on March 20, 2023,

1:00 p.m. via videoconference. A pre-trial conference will be held on May 8, 2023, 1:00 p.m.

via videoconference. The Court will rule on any remaining pre-trial motions and objections to

proposed exhibits, to the extent possible, at the pre-trial conferences, hearing argument as

necessary.

        3.      VOIR DIRE. The Court will provide the parties with a proposed set of voir dire

questions. The parties shall file any objections and suggest any additional questions on or before

March 13, 2023 at 12:00 p.m.




                                                   1
            Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 2 of 9




       4.      PROPOSED JURY INSTRUCTIONS. The Court will provide the parties with a

proposed set of jury instructions, to which the parties shall file any objections on or before March

13, 2023 at 12:00 p.m., and, if necessary, any oppositions to these objections on or before March

15, 2023 at 12:00 p.m. The parties shall also file a list of requested standard jury instructions. To

the extent that they are pattern jury instructions from the current version of the Red Book, it is

sufficient simply to list the numbers of those instructions. Special instructions shall be submitted

verbatim with citations to cases and other authorities to support each instruction. Objections and

changes shall be filed on ECF. In addition, a set of the instructions shall be emailed to Chambers

(c/o Jonathan_Hopkins@dcd.uscourts.gov) in Microsoft Word format.

       5.      PUBLIC ACCESSIBILITY. If necessary, the Court will address specific health

and safety protocols at the pretrial conference on May 8, 2023. The public telephone line for Judge

Friedrich’s courtroom will not be accessible during trial.

       6.      BRADY AND GIGLIO. The Government is under a continuing and ongoing

obligation to provide defense counsel any favorable or exculpatory information (Brady), whether

or not admissible in evidence. Brady information must be disclosed on a rolling basis—“the duty

to disclose is ongoing.” Pennsylvania v. Ritchie, 480 U.S. 39, 60 (1987). To the extent it has not

already done so, the Government must disclose information that may be useful for impeachment

or may otherwise affect the credibility of any Government witness (Giglio)—including Lewis

material—on or before May 9, 2023. See United States v. Celis, 608 F.3d 818, 835–36 (D.C. Cir.

2010). Giglio obligations are also ongoing. Should the Government request it, the Court will enter

a protective order precluding counsel from sharing Giglio information with their clients.

       7.      EXHIBIT LISTS. The parties shall exchange lists of exhibits they intend to use in

their cases-in-chief on or before April 26, 2023.        The Parties shall file objections to the

admissibility of exhibits to the extent practicable on or before May 3, 2023. All exhibits are to be

                                                 2
            Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 3 of 9




marked in advance of trial and listed in order on the exhibit form obtained from Courtroom Deputy

Clerk Jonathan Hopkins. The written list of exhibits must contain a brief description of each

exhibit. At the commencement of trial, counsel shall furnish the Court with two sets of binders

containing their exhibit lists and copies of their pre-marked exhibits.

       8.      WITNESS LISTS. The Government shall provide to the defense an “order of call”

of witnesses no less than 36 hours in advance (if not earlier) and any remaining Jencks Act

material for those witnesses. Defendants shall provide their witness lists to the Government (and

this Court) no later than May 15, 2023, and reverse Jencks material no later than three days

before the witness is to testify. Counsel will not be absolutely bound by the witness lists or order

of call in calling their witnesses because, on occasion, in good faith they must change an intended

order of proof or find it necessary to call a witness out of turn.

       9.      JURY SELECTION. The Court will summarize its jury-selection procedures at

the pre-trial conference on May 8, 2023.

        10.    TRIAL AND PUNCTUALITY. Unless counsel are notified otherwise, the jury

portion of the trial will be conducted each trial day from 9:30 a.m. to 12:30 p.m. and from 1:45

p.m. to 4:45 p.m. on Mondays through Fridays in Courtroom 14. Unless otherwise instructed

by the Court, counsel shall be present in the courtroom each morning promptly at 9:00 a.m. to

address preliminary matters. Trial will convene promptly at the designated time on each trial day,

and the jury will not be kept waiting. Counsel shall be available in the courtroom at least five

minutes before Court is scheduled to begin or resume after a recess.

       11.     ELECTRONIC EQUIPMENT. Representatives of either side who intend to use

electronic equipment during the course of this trial shall promptly meet with John Cramer,

Courtroom Technology Administrator, of the Clerk’s Office (202-354-3019), to arrange for the



                                                   3
             Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 4 of 9




necessary equipment and become fully conversant with the procedures for use of the equipment in

the courtroom.

       12.       TAPES. For all video or audio tapes to be used in this case, counsel for both sides

shall resolve any dispute between any alleged inaccuracy in the transcripts and/or discrepancies

between the transcripts and the tapes. If it proves impossible for counsel to resolve the dispute,

they shall so advise the Court at the pre-trial conference on May 8, 2023 so that the Court may

resolve the dispute efficiently and avoid any delay to the parties, the jury, and the Court.

       13.       GENERAL COURTROOM RULES.                 The Court expects counsel to exercise

civility at all times toward each other and toward everyone involved in the case or working with

the Court.

                 a. Unless leave is otherwise given, counsel shall interrogate witnesses and make

                    opening statements and closing arguments from the lectern and shall speak

                    into the microphone.

                 b. Counsel shall obtain permission from the Court before approaching a witness.

                 c. One counsel for the Government and one counsel for the defendant shall be

                    designated as lead counsel for each and every witness, for purposes of direct

                    examination, cross-examination, redirect examination, and raising objections

                 d. The Court will strictly apply the rules on rebuttal evidence. See Black’s Law

                    Dictionary (9th ed. 2009) (defining “rebuttal evidence” as “[e]vidence offered

                    to disprove or contradict the evidence presented by an opposing party”).

                 e. Counsel are reminded that the traditional rules regarding opening statements

                    and closing arguments will be enforced by the Court.

                 f. All statements by counsel should be directed to the Court and not to opposing

                    counsel.

                                                  4
          Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 5 of 9




               g. Counsel are reminded that their own opinions regarding facts or issues in a case

                   are irrelevant and should not be communicated to the jury (e.g., “I think . . . ,

                   we believe . . .”).

               h. Counsel are reminded to secure clearance from the Court before posing

                   questions or engaging in procedures in the presence of the jury that carry a risk

                   of undue prejudice, or that by law or customary procedures require judicial pre-

                   approval.

               i. Unless otherwise permitted by the Court, counsel shall refer to all witnesses

                   over the age of 18, including their clients, as “Mr.” or “Ms.” or by their official

                   title (e.g., “Captain” or “Dr.”).    The use of first names or nicknames is

                   prohibited. All witnesses are to be addressed in a respectful and polite manner.

       14.     DIRECT AND CROSS-EXAMINATION. On direct and cross-examination of a

witness, counsel shall not:

               a. Testify by improperly incorporating facts into their questions so as to put before

                   the jury information that has not been received in evidence;

               b. Use an objection as an opportunity to argue or make a speech in the presence

                   of the jury;

               c. Show the jury a document or anything else that has not yet been received in

                   evidence without leave of the Court. If counsel is using electronic equipment

                   to display documents to the jury and the Court, counsel shall make sure that the

                   document has been admitted in evidence before it is shown to the jury; or

               d. Except in extraordinary circumstances, be permitted to recross-examine any

                   witness.



                                                  5
           Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 6 of 9




       15.     OBJECTIONS AND EVIDENTIARY MATTERS.                          Any legal matters or

evidentiary issues that arise during the course of the trial and have not been the subject of a motion

in limine or pre-trial motion should be discussed between counsel no later than the night before

the witness or exhibit is to be offered. If there is no resolution, the proponent of the objection or

evidence shall email Chambers and opposing counsel that evening (or, in any case, no later than

7:00 a.m. the next morning) a statement of the evidentiary issue or objection and their position

in succinct terms with legal authority. The opposing party shall email by no later than 8:00 a.m.

the contrary position with legal authority. The Court will discuss and rule during the time for

preliminary matters each morning. In this way the jury will not be kept waiting while legal issues

are discussed and resolved.

       16.     OBJECTIONS AT TRIAL. Bench conferences are discouraged and in light of the

Court’s health and safety protocols will be conducted through headsets. 1 Counsel who make

objections during trial must state the legal basis for their objections without elaboration or

argument (unless invited)—e.g., “objection, hearsay,” “objection, lack of foundation.” The Court

will generally rule on the objection without additional discussion except in the most critical areas.

For purposes of “protecting the record” and assisting appellate review, counsel may explain or

amplify their objections on the record after the jury has been excused for a break, for lunch, or for

the day.

       17.     RULE ON WITNESSES. Except for the parties or their authorized representatives

permitted under Rule 615 of the Federal Rules of Evidence and any expert witnesses, all witnesses

shall remain outside the courtroom except while actually testifying. Unless permission for a

witness to remain in the courtroom is expressly sought and granted, the rule on witnesses is always


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  Counsel may seek to convene a bench conference if counsel is about to engage in a line of
inquiry on direct or cross-examination that reasonably necessitates preclearance, e.g., potentially
inflammatory areas of interrogation.
                                                 6
           Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 7 of 9




in effect, even during voir dire and opening statements. Counsel shall instruct witnesses not to

discuss their testimony with others after they leave the stand. Except for a defendant-witness

(because of Sixth Amendment implications), counsel calling a witness to testify, and counsel’s

agents, should have no further discussions with that witness concerning any aspect of the testimony

already given or anticipated until such time as the witness has completed his or her testimony. As

to a defendant-witness, counsel and their agents are directed to the D.C. Circuit’s opinion in United

States v. McLaughlin, 164 F.3d 1, 4–7 (D.C. Cir. 1998). At all other times, within the bounds of

governing ethics rules and the law, counsel may pursue their discussions with witnesses during the

trial.

         18.    WITNESSES ON CALL. Once the trial begins, witnesses shall be put on call at

the peril of the calling party. The trial will not be recessed because a witness on call is unavailable,

except in extraordinary circumstances. The Court will endeavor to accommodate out-of-town and

expert witnesses if counsel alerts the Court. The party calling a witness shall arrange for that

witness’s presence until cross-examination is completed, including the following trial day if need

be. The failure to have a witness present for cross-examination following direct examination is

grounds to strike the witness’s testimony.

         19.    PRESENCE OF COUNSEL. Once court is in session, lead counsel shall not leave

the courtroom without the Court’s express permission. Failure of counsel to be present and on

time may result in sanctions.

         20.    SUA SPONTE JURY INSTRUCTIONS.                     Any necessary sua sponte jury

instructions shall be written out by counsel requesting them and shall be given to the Court in a

form in which the Court might read the instructions to the jury. Failure to do so shall be deemed

a waiver of any such request. In the event that the instructions are given, it shall be counsel’s

responsibility to remind the Court of the necessity for inclusion of any sua sponte instructions in

                                                   7
          Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 8 of 9




its final charge by 4:00 p.m. on the day before the date on which the final charge is to be given

by the Court to the jury.

       21.     VERBAL OR FACIAL CONTACT WITH THE JURY. Counsel, Defendants, and

law-enforcement personnel shall not make any verbal comments, facial expression, laughter or

other contact with the jury that could be interpreted as conveying a comment one way or the other

with respect to any testimony, argument, or event that may occur during trial. Nor shall any such

persons offer gratuitous comments or asides about witnesses’ testimony or opposing counsel.

       22.     CLOSING ARGUMENTS AND INSTRUCTIONS. The courtroom will be locked

during jury instructions and no one will be permitted to enter or leave. In making closing

arguments, counsel shall be limited by the evidence presented during trial and are reminded of the

prohibition against appealing to the jurors’ prejudices. Moreover, during closing argument and

throughout the trial, counsel shall not:

               a. Comment adversely on the failure of Defendants to testify on their own behalf;

               b. Make statements of personal belief to the jury;

               c. Make personal attacks on other counsel in the case;

               d. Appeal to the self-interest of the jurors; or

               e. Make potentially inflammatory racial, ethnic, political, or religious comments.

       With regard to both opening statements and closing arguments, counsel are admonished

not to make statements or arguments that will engender objections. The Court will intervene sua

sponte and not wait for objections if it detects a failure to adhere to basic legal principles and

standards of civility. Failure to abide by these rules may result in sanctions.




                                                  8
         Case 1:21-cr-00552-DLF Document 66 Filed 02/24/23 Page 9 of 9




        SO ORDERED.




DATE:     February 24, 2023                _______________________________
                                           DABNEY L. FRIEDRICH
                                           United States District Judge




                                       9
